Case 16-41782-drd13                  Doc 36       Filed 09/01/16 Entered 09/01/16 16:07:06                                Desc Main
                                                 Document      Page 1 of 9
Revised 12/01/2010

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF MISSOURI

In re:                                                                  ) Case No. 16-41782-drd13
           Darry Earl Juitt                                             )
           Beatrice Lynnette Juitt                                      ) SSN: xxx-xx-5197
                                                                        ) SSN: xxx-xx-8573
                                                    Debtor(s)           )

                                    CHAPTER 13 PLAN AND PLAN SUMMARY
    A check in this box indicates that this plan contains deviations from the standard provisions of the model plan
adopted by the court at the time of its filing. If changes have been made to the pre-printed text of the model plan form
and this box has not been checked, such changes are null and void.

   Debtor (and joint debtor if applicable) certifies that all tax returns due for the four tax years prior to the petition date
have been filed.

   Debtor(s) has/have not filed all tax returns due for the four tax years prior to the petition date. The tax return(s) that
have not been filed are the following returns and year due:                         .

     Original plan                                                           Above median
     Amended plan                                                            Below median

YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully and discuss them with your attorney.
Any party who wishes to oppose any provision of this plan must file a timely written objection. This plan may be
confirmed without further notice or hearing unless written objection is filed with the clerk of the court before the deadlines
specified in Local Rule 3083-1(D) and (E).

Unless otherwise noted, all statutory references are to Title 11 of the United States Code and all references to “court” are
to the United States Bankruptcy Court for the Western District of Missouri. See Plan Provisions section for definitions.

1.         PLAN PAYMENT: Debtor shall pay $500.00 per month from future earnings to the standing Chapter 13 trustee.

           a.        Direct payment: from debtor(s) to trustee; or

           b.        Voluntary Wage Assignment to Employer:

      Debtor’s name            Monthly amount           Employer’s name              Street address              City, state & zip
Darry Juitt                   $250.00                Social Security Admin        601 E. 12th street       Kansas City, MO 64106
Beatrice Juitt                $250.00                Social security Admin        601 E. 12th Street       Kansas City, MO 64106

2.         ATTORNEY FEES

     Total attorney fees        Attorney fees paid directly by the debtor    Attorney fees paid from the plan    Equal monthly amount
                                                                                        payments                        (“EMA”)
$3000.00                        $190.00                                      $2,810.00                          $100.00

3.         PRIORITY CLAIMS

           a.   Domestic Support Obligations (“DSO”):

                       i. Ongoing post-petition DSO:

                               1.   Debtor shall make post-petition DSO payments directly to the holder of the claim whether
                                    payments are made to the actual recipient or to a governmental unit as assignee.

                               2.   Pursuant to §112 and FRBP Rule 9037, do not disclose the name of a minor child.
                                    Identify only with the minor’s initials.

     Debtor’s name          Ongoing DSO claim holder                         Address                     Telephone        Direct monthly
                                     name                                                                 number             payment
                                                                                                                      $
                                                                                                                      $

v.3.0                                                               1
Case 16-41782-drd13
Revised 12/01/2010




IRS




HSBC
HSBC


5.




v.3.0
     Debtor’s name




     Debtor’s name




          b.




          c.


          d.
                                   Doc 36




                             DSO arrearage claim
                                holder name




                             DSO recipient name




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                                                Filed 09/01/16 Entered 09/01/16 16:07:06
                                               Document      Page 2 of 9

                     ii. Pre-petition arrearages owed to DSO holders under §507(a)(1)(A) and §507(a)(1)(B) shall be paid
                         by the trustee from plan payments on a pro rata basis from funds available after payment of
                         creditors with an EMA unless otherwise specified in paragraph 13.




               Priority claims other than domestic support obligations:




Missouri Department of Revenue


4.
                                                                          Address




                                                                                    Address
                                                                                                        Telephone
                                                                                                         number
                                                                                                                      $
                                                                                                                      $
                                                                                                                        Desc Main




               If the post-petition real estate mortgage payments are to be paid from the plan payments, the trustee shall
               pay pursuant to LR 3094-1.

               The trustee shall populate the database for post-petition mortgage payments to be paid from the plan
               payments unless other treatment is clearly specified.

               If the court enters an order or judgment post-confirmation that deems a mortgage an unsecured claim, the
               trustee and the debtor retain the right to amend the plan to comply with 11 U.S.C. §1325(a)(4) and to
               amend the treatment of the affected creditor.

         Creditor name                   Collateral




                                   7217 Bryan Way
                                   7217 Bryan Way
                                                                Post
                                                               petition
                                                              monthly
                                                              payment

                                                             $1119.78
                                                             $232.94
                                                             $
                                                                            Post-petition payment

                                                                               Paid
                                                                             through
                                                                               plan
                                                                                           Paid
                                                                                          directly




          REAL ESTATE MORTGAGES (RESIDENTIAL & NON-RESIDENTIAL) TO BE PAID IN FULL DURING THE
          LIFE OF THE PLAN BY THE TRUSTEE FROM THE PLAN PAYMENTS

          a.


          b.


          c.
                                                                                                       Estimated
                                                                                                       pre-petition



                                                                                                       $
                                                                                                       $
                                                                                                       $
                                                                                                        arrearage
                                                                                                                          Estimated
                                                                                                                       arrearage claim




                     iii. For noticing purposes under §1302(d), if the DSO claim holder listed above in paragraph 3(a)(i) or
                          3(a)(ii) is a governmental unit, list the name(s), address(es) and phone number(s) of the actual
                          holder of a DSO as defined in §101(14A). Pursuant to §112 and FRBP Rule 9037, do not disclose
                          the name of a minor child. Identify only with the minor’s initials.




                      i. Shall be paid by the trustee from the plan payments on a pro rata basis unless otherwise specified
                         in paragraph 13. Any other special provisions must be clearly set out in paragraph 13.

                     ii. Shall be paid from funds available for this class after payment of creditors with an EMA.

                                    Priority creditor name




          LONG TERM REAL ESTATE MORTGAGE (RESIDENTIAL & NON-RESIDENTIAL) & OTHER LONG TERM
          DEBTS (EXCEPT STUDENT LOANS) TREATED PURSUANT TO §1322(b)(5) AND EXCEPTED FROM
          DISCHARGE PURSUANT TO §1328(a)(1)

          a.


          b.
                                                                 䩰
                                                                                                     $7802.00
                                                                                                     $2000.00
                                                                                                     $




               Pre-petition arrearages shall be paid by the trustee from the plan payments on a pro rata basis unless
               otherwise specified in paragraph 13.
                                                                                                                           Telephone
                                                                                                                            number




                                                                                                          Estimated priority claim




                                                                                                                          Arrearage
                                                                                                                         interest rate




               Pre-petition arrears shall not be paid as a separate claim as arrears should be part of the principal balance
               of the claim which is being paid in full.
                                                                                                                             zero
                                                                                                                             zero
                                                                                                                             zero




               If no monthly payment is provided, the creditor shall be paid pro rata from funds available for this class after
               the payment of creditors with an EMA.

               If no interest rate is provided, the trustee shall use the Chapter 13 Rate in effect for this case.

                                                                 2
Case 16-41782-drd13
Revised 12/01/2010




6.




Nelnet
Sallie Mae




v.3.0
        7.
             d.




             STUDENT LOANS

             a.




             b.




             c.




                  c.




Carmax Auto Finance




                  d.
                                       Doc 36




                                        8719            $33,000




                         Claims to which §506 valuation is applicable:




                                            account #




                                                                         3
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                                                     Filed 09/01/16 Entered 09/01/16 16:07:06
                                                    Document      Page 3 of 9

                   If the court enters an order or judgment post-confirmation that deems a mortgage an unsecured claim, the
                  trustee and the debtor retain the right to amend the plan to comply with 11 U.S.C. §1325(a)(4) and to
                  amend the treatment of the affected creditor.


              Mortgage lien holder                      Collateral
                                                                              $
                                                                              $




                                                                          $205.00
                                                                                  Principal balance
                                                                                                              $
                                                                                                              $
                                                                                                                  Monthly payment




                  Post-petition payments shall be paid the contractual monthly payment as a long term continuing debt as
                  specified below with arrears paid by the trustee from plan payments on a pro rata basis. If no interest rate
                  is provided for the student loan arrears, the trustee shall use the Chapter 13 Rate in effect for this case.
                  (Student loans must qualify as a long term continuing debt to be treated in subparagraph b.)

                  If the box below does not specify whether the ongoing post-petition payments are to be paid directly or from
                  the plan payments, the trustee shall populate the database for the on-going post-petition payments to be
                  paid from the plan payments.

             Creditor name              Last 4 digits
                                         of account



                                        197
                                              #
                                                          Estimated
                                                            claim
                                                           amount

                                                        $45,000
                                                                          Contractual
                                                                           monthly
                                                                           payment

                                                                          $50.00
                                                                                                Post-petition payment
                                                                                                  Paid
                                                                                                through
                                                                                                  plan
                                                                                                                    Paid
                                                                                                                   directly




                  Student loan claims not listed in subparagraph 6(b) above shall be treated in the same class as other non-
                  priority unsecured creditors as specified in paragraph 12 below.

             SECURED CREDITORS HOLDING A PURCHASE MONEY SECURITY INTEREST (“PMSI”) ENTITLED TO
             RECEIVE ADEQUATE PROTECTION

                  a.


                  b.
                                                                          䩰




                         The trustee shall pay to the holder of each allowed secured claim the EMA listed below with the
                         appropriate discount rate.

                         An equal monthly amount must be provided for creditors listed in this paragraph.

                         Claims to which §506 valuation is not applicable:

                  Claims listed in this subsection consist of debts secured by a purchase money security interest in a vehicle
                  acquired for the personal use of the debtor for which the debt was incurred within 910 days of filing the




                                                                                  2002 Ford Expedition




                                                                                            $
                                                                                            $
                                                                                            $
                                                                                                 collateral
                                                                                                                               $
                                                                                                                               $




                  bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred within
                  1 year of filing. See §1325(a)(5) and the hanging paragraph.

                       Creditor name                     Last 4 digits of
                                                           account #
                                                        5197
                                                                                           Collateral
                                                                                                                                   Estimated
                                                                                                                                   arrearage




                                                                                                                        Interest rate

                                                                                                                        Ch13 Rate
                                                                                                                        Ch13 Rate
                                                                                                                        Ch13 Rate




                  Claims listed in this subsection consist of any PMSI claims secured by personal property not described in
                  paragraph 7(c) above. The portion of any allowed claim that exceeds the value indicated below shall be
                  treated as a non-priority unsecured claim. See §§1325(a)(5) and 506(a).

              Creditor name               Last 4 digits of            Collateral                 Value of             Interest rate

                                                                                                                       Ch13 Rate
                                                                                                                       Ch13 Rate
                                                                                                                       Ch13 Rate
                                                                                                                                     claim
                                                                                                                                             Desc Main




                                                                                                                                               Interest rate




                                                                                                                                                     Interest
                                                                                                                                                     rate for
                                                                                                                                                     arrears




                                                                                                                                           EMA payment
                                                                                                                                            through plan
                                                                                                                                         $200.00
                                                                                                                                         $
                                                                                                                                         $




                                                                                                                                         $
                                                                                                                                         $
                                                                                                                                         $
                                                                                                                                             EMA payment
                                                                                                                                              through plan
                                                                                                                                                               %
                                                                                                                                                               %
Case 16-41782-drd13
Revised 12/01/2010




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        8.




        9.




        12.
                  a.


                  b.


                  c.




                  c.




                  d.
                        Name of creditor


Consumer Portfolio Services


        10. TAX REDEMPTION CLAIMS




                       Creditor name
                                           Doc 36




        11. EXECUTORY CONTRACTS & UNEXPIRED LEASES
                                                      Document




                                              account #


              SECURED CREDITORS – SURRENDER PER §1325(a)(5)(C)




              assumed shall be paid directly by debtor.

                       Creditor name




               NON-PRIORITY UNSECURED CREDITORS

                  a.



                  b.
                                                                            ƞ
                                                       Filed 09/01/16 Entered 09/01/16 16:07:06
                                                                    Page 4 of 9

              SECURED CREDITORS NOT HOLDING A PURCHASE MONEY SECURITY INTEREST

                         Pursuant to §1326(a)(1) creditors listed in this paragraph shall not receive pre-confirmation adequate
                         protection payments unless the court orders otherwise.

                         Creditors listed in this paragraph will be paid to the value of collateral unless otherwise specified in
                         paragraph 13.

                         An equal monthly amount must be provided for creditors listed in this paragraph.

              Creditor name                 Last 4 digits of        Collateral




                                                                 Estimated claim amount




                                                                        䩰




                                                                  Property description
                                                                                         $




                                                                 Collateral to be surrendered


                                                               2006 Jeep Commander
                                                                                             Value of
                                                                                             collateral
                                                                                                                Interest rate

                                                                                                                 Ch13 Rate       $
                                                                                                                                     Desc Main




                                                                                                                                     EMA payment
                                                                                                                                      through plan




                                                                                                           Surrender in lieu of entire debt (leave
                                                                                                             blank if a deficiency claim is to be
                                                                                                                           allowed)
                                                                                                          Surrender in lieu of entire debt




              Priority claims arising from a tax sale of real property shall be listed in this paragraph and specific instructions
              for treatment of creditor must be clearly set out in paragraph 13.

                                                                                                               Deadline to redeem property




              Post-petition payments and pre-petition arrearages on executory contracts and unexpired leases which are


                                                                                                                      Accept or Reject




                         If debtor has both non-exempt equity (requiring a LAP) and disposable income (requiring a DIP), the
                         type of plan selected should be the option which provides the greatest dividend to non-priority
                         unsecured creditors and complies with §1325(b) if less than a 100% dividend.

                         To the extent that the debtor is entitled to a tax refund which is a prepetition asset, the non-exempt
                         portion thereof which either is not properly setoff, or which is not already provided for under the terms
                         of the plan for the benefit of the unsecured creditors shall be turned over to the trustee for the benefit
                         of the filed and allowed unsecured creditors.

                          To the extent debtor has a pending or potential lawsuit or other administrative proceeding, whether or
                         not such cause of action is listed on Schedule B, any net, non-exempt proceeds which become
                         liquidated during the applicable commitment period shall be turned over to the trustee for the benefit of
                         unsecured creditors absent other court order and absent other agreement with the trustee.

                         Choose only one treatment of non-priority unsecured creditors below:

                               i.

                              ii.

                              iii.

                              iv.
                                       A dividend of 100%.

                                       A dividend of 0%.

                                       A base plan. The base is

                                       Liquidation Analysis Pot (LAP)

                              There is non-exempt equity of $

                              v.
                                                                  4
                                                                       months of payments.



                                                                            .

                                       Disposable Income Pot – 60 months (DIP-60).
Case 16-41782-drd13
Revised 12/01/2010




A.




B.




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                Date: 08/18/2016




                By:




        PLAN PAYMENT
                                1.
                                       Doc 36




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                                                  Filed 09/01/16 Entered 09/01/16 16:07:06
                                                 Document      Page 5 of 9

                          The DIP-60 amount is $ (60 x $monthly disposable income as calculated on Form B22C).

                          vi.        Disposable Income Pot – 36 months (DIP-36).

                          The DIP-36 amount is $

           13. OTHER REMARKS OR PROVISIONS:
                                                           (36 x $       monthly disposable income).
                                                                                                                  Desc Main




                                      Debtors are filing an adversary proceeding to void the third mortgage with Springleaf
                                      Financial. The debt associated with Springleaf Financial was discharged in the prior
                                      Chapter 7 Bankruptcy as debtors did not sign a reaffirmation agreement.



                Chapter 13 debtor: /s/ Darry E. Juitt
                Chapter 13 debtor: /s/ Beatrice L. Juitt



                      Attorney name: /s/ Jennifer Dodson 60758
                      Attorney address: 435 Nichols Road, Suite 200, Kansas City, MO 64112
                      Attorney phone number: 816-977-2763



                                                     PLAN PROVISIONS


         i. Mailing address: All plan payments shall be payable to “Richard V. Fink, Trustee”, shall include the debtor’s
            name and case number and shall be mailed to Richard V. Fink, Trustee, P.O. Box 1839, Memphis, TN 38101-
            1839.
                                                                     䩰




         ii. Commencement date: Plan payments shall commence within 30 days of the petition date. Once a plan is
             confirmed, that plan payment remains in effect until such time as the court confirms a subsequent amendment.

         iii. Employer wage order: If the box for voluntary wage assignment to the employer is checked and the employer
              address is not provided, the wage order shall be issued directly to the debtor. If neither box in paragraph 1 is
              checked, the wage order shall be issued directly to the debtor. Full and timely payment is the debtor’s
              responsibility if the voluntary wage assignment has not gone into effect or if the employer does not remit the full
              plan payment amount. The trustee also may cause an order to remit plan payments to be issued to the debtor’s
              employer pursuant to LR 3083-1.

        DISTRIBUTIONS TO CREDITORS

         i. Proof of claim: The trustee shall only distribute payments, including adequate protection payments, to creditors
            who have filed proofs of claim. If the plan provides for the debtor to make payments directly, then the failure of
            the creditor to file a proof of claim does not excuse the debtor from making the required direct payments. If the
            debtor is to make direct payments to a creditor, those payments must be paid pursuant to the terms of the
            contract regardless of whether the plan is confirmed. However, if the trustee is to pay any portion of a claim,
            then it is necessary for the creditor to file a proof of claim to receive the portion of the claim to be paid through
            the trustee.

         ii. Order of distributions: The trustee shall distribute to creditors, absent other order of the court, based on the
             confirmed plan, filed and allowed proofs of claim, and the notice to allow claims and any subsequent notices to
             allow additional, adjusted or amended claims. See LR-3084-1 and LR 3085-1. The manner and order of
             distribution to creditors shall be determined by the trustee unless otherwise clearly set out in the plan as
             confirmed.

         iii. Creditor mailing address/assignments or transfers: The trustee shall mail payments to the address provided
              on the proof of claim unless the creditor provides another address in writing for payments or the trustee receives
              other official, written notice of a change of address. If the claim is assigned or transferred, the trustee shall
              continue to remit to the original creditor until an assignment or transfer of claim is filed with the court.




                                                                 5
Case 16-41782-drd13
Revised 12/01/2010




C.




D.




E.




F.




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        ADMINISTRATIVE COSTS
                                    Doc 36
                                               Document




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                                                Filed 09/01/16 Entered 09/01/16 16:07:06
                                                             Page 6 of 9
                                                                                                                  Desc Main


         iv. Payment of claim after lifting of stay: The trustee shall continue to make payments to any creditor with a filed
             and allowed claim after an order granting relief from the stay is entered or the stay is otherwise not in effect.
             The trustee shall cease making payments pursuant to LR 3086-1 only if:

                 a.
                 b.
                 c.
                      an objection to the claim is filed and an order is entered disallowing the claim;
                      the claim is withdrawn by the creditor; or
                      the creditor advises the trustee in writing to cease making payments to it.



         i. Trustee’s fees: Trustee’s fees shall be collected from each payment disbursed by the trustee regardless of
            whether it is paid pre- or post-confirmation. See 28 USC §586, §1326, LR 3086-1.

         ii. Debtor’s attorney’s fees: Attorney fees shall be paid from the plan payments pursuant to LR 2016-1 unless a
             different treatment is provided in paragraph 13 and the court issues a specific order regarding that proposed
             treatment. The confirmation of the plan without that separate, specific court order shall not permit attorney fees
             to be paid contrary to the equal monthly amount specified in paragraph 2. All attorney fees paid contrary to that
             paragraph or other order of the court are subject to disgorgement.

        PRIORITY CLAIMS

         i. Treatment: Section 1322(a)(2) provides that all claims entitled to priority under §507(a) shall be paid in full in
            deferred cash payments, except when §1322(a)(4) applies to §507(a)(1)(B) priority claim, unless the holder of a
            particular claim agrees to a different treatment of such claim. All priority claims, regardless of the underlying
            basis for the claim, are similarly classed for purposes of distribution under this plan unless otherwise specified in
            paragraph 13 or other order of the court. Priority creditors shall not receive interest on their claims unless
            otherwise specified in the plan or other order of the court.

         ii. Classification: All priority creditors, including DSO’s, with a filed and allowed claim for whom an EMA is
             provided in paragraph 13, shall be grouped for distribution purposes with any creditor for whom an EMA is
             provided, including secured claims and debtor’s attorney’s fees. All priority unsecured creditors, including
             DSO’s, with a filed and allowed claim for whom an EMA is not provided, shall be grouped for distribution
             purposes with any secured creditor being paid pro rata as funds are available for that class of creditors.
                                                                 䩰




        LONG TERM REAL ESTATE MORTGAGES (RESIDENTIAL & NON-RESIDENTIAL) & OTHER LONG TERM
        DEBTS PURSUANT TO §1322(b)(5) AND EXCEPTED FROM DISCHARGE PURSUANT TO §1328(a)(1)

         i. Interest rate for pre-petition arrearage: All pre-petition arrearages, whether scheduled or unscheduled, shall
            be paid 0% interest pursuant to §1322(e) unless otherwise specified in the plan or ordered by the court. If a
            portion of the pre-petition arrearage is entitled to interest, the treatment should be clearly specified in paragraph
            13 as to the amount to be paid interest and the applicable interest rate. If the proof of claim is filed with no
            information regarding the portion to be paid interest, the trustee shall pay interest on the amount indicated in the
            plan. If no specific interest rate is provided and the plan provides for interest, the trustee shall use the Chapter
            13 Rate in effect for the case.

         ii. Post-petition mortgage payment change: A “Notice of Payment Change” shall be filed with the court and
             served on the debtor, the debtor’s counsel and the trustee no later than sixty (60) days prior to any payment
             change and shall contain the information required pursuant to LR 3094-1(C)(3).

         iii. Pre-confirmation adequate protection payments on claims secured by real property: The trustee shall
              distribute adequate protection payments to real property creditors being paid from the plan payments pursuant
              to LR 3086-1(E).

        LIEN RETENTION

         The holder of a secured claim shall retain its lien, until the earlier of the payment of the underlying debt determined
         under non-bankruptcy law or the discharge under §1328 and, if the case is dismissed or converted without
         completion of the plan, the lien also shall be retained by such holder to the extent recognized by applicable non-
         bankruptcy law. §1325(a)(5)(B).

G. LIEN AVOIDANCE

         Secured creditors with a non-purchase money security interest in consumer goods may be subject to lien
         avoidance per §522(f), and treated as non-priority unsecured only if a separate motion/action is filed and the court
         enters an order avoiding the lien.


                                                                 6
Case 16-41782-drd13
Revised 12/01/2010
H.




I.




J.




v.3.0
                                    Doc 36
                                                Document




                                                                      ƞ
                                                 Filed 09/01/16 Entered 09/01/16 16:07:06
                                                              Page 7 of 9

        SECURED CREDITORS HOLDING A PURCHASE MONEY SECURITY INTEREST ENTITLED TO RECEIVE
        ADEQUATE PROTECTION

         i. Pre-confirmation adequate protection payments:
                                                                                                                   Desc Main




                 a. How made: All adequate protection payments to secured creditors listed in paragraph 7 required by
                    §1326(a)(1) shall be made through the trustee pursuant to LR 3086-1 unless otherwise ordered by the
                    court. A creditor shall not receive adequate protection payments if the plan does not provide for such
                    creditor to be treated as secured in paragraph 7. In order for such creditor to receive adequate
                    protection payments, the debtor must amend the plan to so specify that creditor’s treatment as secured
                    and to provide an equal monthly amount for that creditor or the creditor must file an appropriate motion
                    for adequate protection with the court and obtain an order. Creditors may file objections to the
                    adequate protection treatment provided by the plan.

                 b. Proof of claim required: All creditors listed in the plan in paragraph 7 shall receive adequate
                    protection payments pursuant to §1326(a)(1), with the trustee releasing such payments to each
                    creditor only after a proof of claim is filed with the court. Adequate protection payments shall be paid
                    from the second month following the petition or conversion month through the confirmation month. The
                    principal amount of the adequate protection recipient’s claim shall be reduced by the amount of the
                    adequate protection payments remitted unless the court orders otherwise.

                 c. Long term personal property claims: Any personal property debt that qualifies as a long term debt
                    and is listed in paragraph 4 for which pre-confirmation adequate protection payments are required shall
                    be paid adequate protection payments.

        SECURED CREDITORS – SURRENDER PER §1325(a)(5)(C)

         i. Time of surrender: Debtor shall surrender collateral no later than thirty (30) days from the filing of the petition
            unless otherwise specified in the plan.

         ii. Automatic stay: Any repossession/foreclosure prior to confirmation of this plan must be obtained by a filed
             motion and court order, unless the automatic stay no longer applies under §362(c). Upon plan confirmation, the
             automatic stay shall be deemed lifted for the collateral identified for surrender and the creditor need not file a
             Motion to Lift the Stay in order to repossess, foreclose upon or sell the collateral. Nothing herein is intended to




                    shall be adjusted accordingly.
                                                                  䩰




             lift any applicable co-debtor stay, or to abrogate debtor’s state law contract rights.

         iii. Deficiency claim: If a deficiency claim is filed, it shall be allowed unless the column titled "Surrender In Lieu of
              Entire Debt” has a mark of any kind in it. If there is any mark in said column, the trustee shall populate the
              database as “surrendered in lieu of the entire debt,” including any non-priority unsecured portion.

        DEFINITIONS

         i. Arrearage: Any arrearages listed are the debtor’s best estimate of the amount owed as of the date of the
            petition. The trustee shall pay arrearages based on the filed and allowed proof of claim pursuant to Local Rule
            3084-1. If no arrearage amount is shown on the proof of claim, none shall be paid.

         ii. Base plans:

                 a. Base amount: The base amount (“Base”) shall be calculated by multiplying the number of months
                    proposed in a base case by the monthly plan payment. If the monthly plan payment changes, the base


                 b. Adjustments to Base: The Base may be adjusted upward to accommodate proofs of claim and
                    amended proofs of claim filed and allowed after the bar date and to accommodate increases in long-
                    term continuing debts being paid through the trustee from the plan payments remitted by the debtor.
                    The Base may be adjusted at the end of the plan in order to allow a full monthly payment in the last
                    month of the plan to any creditor receiving long term debt payments through the trustee. The Base
                    may be adjusted upward due to any additional funds the debtor receives which are determined to be
                    disposable income either by agreement of the debtor and the trustee or by order of the court
                    regardless of source. If the debtor remits sufficient funds to the trustee to pay off the case in full, e.g.
                    100% to all filed and allowed unsecured creditors; the trustee may adjust the plan to a 100% plan for
                    filed and allowed unsecured creditors without further order of the court.

                 c. Payment of non-priority unsecured creditors: Filed and allowed non-priority unsecured creditors
                    shall be paid their pro rata share, as funds are available, of plan payments available after the
                    satisfaction of administrative expenses, secured claims (including interest), priority unsecured claims
                    and after all long-term debt payments being paid through the trustee are current.
                                                              7
Case 16-41782-drd13
Revised 12/01/2010




v.3.0
                                   Doc 36
                                              Document




                                                                    ƞ
                                               Filed 09/01/16 Entered 09/01/16 16:07:06
                                                            Page 8 of 9

                d. Length of Base: Because the total funds paid into the plan must be sufficient to satisfy the
                                                                                                                Desc Main



                   administrative expenses, secured claims and priority unsecured claims, the plan may actually run
                   longer than the number of months needed to satisfy the Base. Any adjustments made to the Base that
                   results in the Plan running in excess of the sixty-month statutory time limit of §1322(d) may result in the
                   trustee filing a motion to dismiss.

        iii. Applicable commitment period: If the trustee or an unsecured creditor objects to confirmation of a plan
             pursuant to §1325(b)(1)(B), the debtor shall devote to the plan all disposable income for payment to unsecured
             creditors for the applicable commitment period from the date that the first plan payment is due, as defined in
             §1326(a)(1), unless the plan provides for payment in full of all filed and allowed unsecured claims over a shorter
             period. Regardless of whether the trustee objected to the confirmation of the plan pursuant to §1325(b)(1)(B),
             the trustee may file a Motion to Amend Plan pursuant to §1329 to a Base plan or a Pot plan if the plan as filed
             and confirmed will pay all administrative expenses and filed and allowed secured and priority creditors in a
             period of time that is less than the applicable commitment period. This includes plans running less time than
             anticipated due to the lifting of the automatic stay, secured or priority claims being allowed for less than the
             scheduled amount or not filed at all, withdrawn claims, lien avoidance or disallowance of claims or plans running
             less than the applicable commitment period due to other reasons. The trustee or the debtor or an allowed
             unsecured claimant may also file a Motion to Amend Plan pursuant to §1329 if there has been a post-
             confirmation change in circumstances that would allow the debtor to pay a dividend or an increased dividend to
             non-priority unsecured creditors.

        iv. Equal monthly amount (EMA): Claims with EMA’s may receive more than the EMA and may receive those
            additional funds prior to payments being made to non-priority unsecured creditors.

        v. Long term debt: A long term debt is one in which the final payment due under the terms of the contract comes
           due after the final Chapter 13 plan payment comes due.

        vi. Pot plans:

                a. Liquidation analysis pot (LAP): The LAP shall first be used to satisfy pre-confirmation debtor’s
                   attorney’s fees being paid from the plan payments and filed and allowed priority claims. Any funds
                   remaining in the LAP after the satisfaction of those claims shall be paid to filed and allowed non-priority
                   unsecured claims. If the LAP is less than or equal to the sum of the pre-confirmation debtor’s




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                   attorney’s fees being paid from the plan payments and the filed and allowed priority claims, the filed
                   and allowed non-priority unsecured claims shall receive zero percent (0%), unless the plan runs short
                   of the applicable commitment period. See paragraph J(iii). Filed and allowed special or co-debtor non-
                   priority claims shall not receive more than their pro rata share of any funds available for distribution to
                   filed and allowed non-priority claimants from the LAP; if the plan provides for filed and allowed special
                   or co-debtor non-priority claims to be paid more than the other filed and allowed non-priority unsecured
                   claimants, then the debtor shall pay to the trustee the additional funds necessary to satisfy those
                   claims.

                b. Disposable income pot (DIP):

                             1.   Above median debtors (DIP-60): If the debtor has disposable income as defined in
                                  §§1325(b)(2) and (b)(3) and the applicable commitment period as defined in
                                  §1325(b)(4)(A) is not less than five (5) years, the DIP amount shall be the amount of the
                                  monthly disposable income on form B22C multiplied by 60.

                                  Below median debtors (DIP-36): If the debtor has disposable income as defined in
                                  §§1325(b)(2) and (b)(3) and the applicable commitment period as defined in
                                  §1325(b)(4)(A) is not less than three (3) years, the DIP amount shall be the amount of the
                                  monthly disposable income multiplied by 36.

                                  Sharing in the DIP: The DIP shall first be used to satisfy pre-confirmation debtor’s
                                  attorney’s fees being paid from the plan payments and filed and allowed special or co-
                                  debtor non-priority unsecured claims. Filed and allowed priority claims are not deducted
                                  from the DIP-60 as they already have been deducted on the form B22C. Filed and
                                  allowed priority claims are deducted from the DIP-36. Any remaining funds in the DIP
                                  shall be paid to filed and allowed non-priority unsecured claims. If the DIP is less than or
                                  equal to the sum of the pre-confirmation debtor’s attorney’s fees being paid from the plan
                                  payments and filed and allowed special or co-debtor non-priority unsecured claims, the
                                  filed and allowed non-priority unsecured claims shall receive zero percent (0%), unless
                                  the plan runs short of the applicable commitment period. See paragraph J(iii) above.


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Case 16-41782-drd13
Revised 12/01/2010




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                                   Doc 36




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                                               Filed 09/01/16 Entered 09/01/16 16:07:06
                                              Document      Page 9 of 9

                c. Adjustment to dividend for both LAP plans and DIP plans: After the dividend to non-priority
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                   unsecured creditors is set, the trustee will not adjust the percentage to accommodate proofs of claim
                   and amended proofs of claim filed and allowed after the bar date. If the debtor believes that
                   adjustment of the percentage is required, it will be the responsibility of the debtor to amend the plan.
                   If the debtor determines that an adjustment is required, it will be the responsibility of the debtor to
                   determine an appropriate percentage and file an amended plan to set the dividend to that percentage.
                   Any such amendment to the plan shall reflect the dividend which previously has been set and shall
                   provide a dividend that will comply with §1325(a)(4) and must be at least equal to any distributions
                   already made to non-priority unsecured creditors.

                d. Trustee’s avoidance powers: If the trustee avoids a transfer of an interest of the debtor in property
                   and recovers funds in a total amount equal to or greater than three thousand dollars ($3000.00), the
                   recovered funds shall be distributed to unsecured creditors pursuant to the provisions of a LAP plan
                   listed above.

        vii. Value of collateral: The value of collateral listed is the debtor’s best estimate. The trustee uses the value
        listed on the face of the filed proof of claim, if one is listed, pursuant to Local Rule 3084-1 when populating the
        database with the proof of claim. If the value of the collateral is not provided on the face of the proof of claim or in
        the plan or schedules, the claim shall be treated as a non-priority unsecured claim.




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